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 2
     Amy L. Bennecoff (275805)
 3   Kimmel & Silverman, P.C.
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 4
     Ambler, PA 19002
 5   Telephone: 215-540-8888
     Facsimile: 215-540-8817
 6
     abennecoff@creditlaw.com
 7   Attorney for Plaintiff

 8

 9
                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     MICHELLE RHEA,                           )
11
                                              )
12               Plaintiff,                   ) Case No.: 3:13-cv-00801-JLS-RBB
           v.                                 )
13                                            )
14   NEUHEISEL LAW FIRM, P.C.                 ) NOTICE OF VOLUNTARY
                                              ) DISMISSAL
15                 Defendant.                 )
                                              )
16
                                              )
17
     TO THE CLERK:
18

19         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff
20   voluntarily dismisses her Complaint with prejudice.
21
                                                    /s/ Amy L. Bennecoff
22                                                  Amy L. Bennecoff, Esquire
     Date: August 27, 2013                          Kimmel & Silverman, P.C.
23
                                                    30 East Butler Pike
24                                                  Ambler, PA 19002
                                                    Phone: (215) 540-8888
25
                                                    Fax: (215) 540-8817
26                                                  Email: abennecoff@creditlaw.com
                                                    Attorney for the Plaintiff
27

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                                 NOTICE OF VOLUNTARY DISMISSAL

                                                                         3:13-cv-699-JLS-BGS
     Case 3:13-cv-00801-JLS-RBB Document 3 Filed 08/27/13 PageID.14 Page 2 of 2

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 3

 4                                 Certificate of Service
 5         I, AMY L. BENNECOFF, ESQUIRE, do certify that I served a true and
 6
     correct copy of Plaintiff’s Notice of Voluntary Dismissal upon the following by
 7
     depositing a copy of same in the United States mail, postage prepaid, addressed as
 8

 9   follows:
10

11                                     Gloria Zarco, Esq.
                                    Neuheisel Law Firm, P.C.
12                                2277 Fair Oak Blvd., Ste. 305
13
                                     Sacramento, CA 95825

14
                                                    /s/ Amy L. Bennecoff
15
                                                    Amy L. Bennecoff, Esquire
16   Date: August 27, 2013                          Kimmel & Silverman, P.C.
                                                    30 East Butler Pike
17                                                  Ambler, PA 19002
18                                                  Phone: (215) 540-8888
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19                                                  Email: abennecoff@creditlaw.com
                                                    Attorney for the Plaintiff
20

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                                 NOTICE OF VOLUNTARY DISMISSAL

                                                                         3:13-cv-699-JLS-BGS
